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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : NO. 3:23-CR- (do |

v. : (Judge MAvwion )
RALPH PARRY, : : (Filed Under Seal)
Defendant. -
ORDER

IT IS ORDERED that the Clerk of Court provide the United States

Attorney’s Office with two (2) certified copies of the accompanying

documents and thereafter keep these documents from public view until the

Clerk has made appropriate docket entries.

IT IS FURTHER ORDERED that these documents only be opened by

appropriate Court personnel of the Middle District of Pennsylvania in due

course of performing the business of the Clerk’s Office, after which the Clerk

is ordered to seal this Order and all accompanying. documents until:

[X] Notified in writing by the United States Attorney’s
_ Office that there is no longer any reason for the
documents to remain sealed; or -

[| .Further Order of the Court.

we

DATE: S/23/ , 2023 4 Mb fy i. es

US.  Shmer 00 COURT JUDGE
